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IN THE UNITED STATES DISTRICT COURT : '..
NORTHERN DISTRICT OF ALABAMA,,,

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SOUTHERN DIVISION WYER T2 AME hg
Po gee

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PATRICIA WOLTERSDORF, ) NO OF ey see T
EN IEE
PLAINTIFF, ) ¢
vs. ) cv-03-H-2820-s VD

PENTAGON FEDERAL CREDIT UNION, )

DEFENDANT. ) ENTERED
MAR 1 2 2004

MEMORANDUM OF DECISION AND ORDER

The court has before it the October 23, 2003 motion of
Pentagon Federal Credit Union (“PFCU”) to dismiss Counts One,
Two, and Six of the Complaint in their entirety, as well as
portions of Count Three of plaintiff's amended complaint under
Rule 12(b) (6), Fed. R. Civ. P. Defendant alternatively moves the
court to dismiss these same Counts under Rule 12(c), Fed. R. Civ.
P., to the extent the court concludes that a 12(b) (6) motion is
improper due to its determination that defendant has previously
answered such allegations of plaintiff's complaint. The court
stated in its November 3, 2003 order that the motion would be
viewed as a motion for judgment on the pleadings. Defendant
submitted a brief in support of its motion on November 19, 2003.
Plaintiff submitted a brief in opposition to defendant’s motion
on December 15, 2003. The motion was taken under submission as

of that same date.
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I. Background

Plaintiff originally filed this action in Jefferson County
Circuit Court on October 18, 2002. (See Exh. 1 to Def.’s Notice
of Removal [Doc. #1], hereinafter “Compl.”) Defendant timely
answered plaintiff's initial complaint in Jefferson County on
December 2, 2002. (Exh. 3 to Doc. #1.) That original complaint
contained only state law claims. (See Compl.) The suit was then
transferred, on defendant’s motion, to Shelby County Circuit
Court on February 14, 2003. (See Exh. 8 to Def.’s Notice of
Removal.) Following the transfer to Shelby County, plaintiff
filed an amended complaint on September 25, 2003 that, for the
first time, asserted federal law claims under the Fair Credit
Reporting Act (“FCRA”), 15 U.S.C. § 1681 et seq. (1994 & Supp. II
1996). (See Exh. 31 to Def.’s Notice of Removal, hereinafter
“Amend. Compl.”) On October 16, 2003, the defendant, asserting
both federal question and diversity jurisdiction, removed the
case to this court.

The pleadings reflect that this case arises from plaintiff's

allegations that PFCU issued a credit card in plaintiff's name

without plaintiff's authorization. (Compl. at 95.) The account
became delinquent. (Id.) Plaintiff further alleges that PFCU
had knowledge that she had disputed the account. (Id. at 4 8.)

Plaintiff then alleges, generally, that PFCU proceeded to report

the delinquency of the account to consumer credit reporting
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agencies. (Id. at 9 5.) These alleged acts form the basis of
plaintiff£’s state law claims of “Placed in False Light” (Compl.
Count One); “Defamation, Liable [sic] and Slander” (Compl. Count
Two); “Reckless and Wanton Conduct” (Compl. & Amend. Compl. Count
Three) arising out of the extension of credit, failure to adopt
protective policies regarding its communications, and failure to
train employees on procedures regarding communication of consumer
credit information; “Reckless and Wanton Training and Supervision
Related to the FCRA.” (Amend. Compl. Count Six.). Additionally,
the alleged acts are the basis of plaintiff’s two federal law
claims articulated in Count Four and Count Five of the amended
complaint, both of which allege violations of the FCRA, § 1681s-
2(b). (Amend. Compl. Counts Four, Five.)
II. Judgment on the Pleadings Standard

Judgment on the pleadings is appropriate where there are no
material facts in dispute, and judgment may be rendered by
considering the substance of the pleadings and any judicially
noticed facts. Horsley v. Rivera, 292 F.3d 695, 700 (11th Cir.
2002). The court may grant either a motion to dismiss or a
motion for judgment on the pleadings only where it is beyond
doubt that the non-movant can prove no facts that would support
his claim for relief. Pataula Elec. Membership Corp. v.
Whitworth, 951 F.2d 1238, 1240 (11th Cir.) cert. denied 506 U.S.

907 (1992).
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III. Discussion

The salient issue before the court is whether the FCRA
preempts plaintiff's state law claims that relate to PFCU’s
responsibilities as a furnisher of information to consumer credit
reporting agencies. Two subsections of the FCRA are relevant to
this question. First, the older subsection, § 1681h(e), provides
furnishers of credit information with qualified immunity from
“any action or proceeding in the nature of defamation, invasion
of privacy, or negligence ..."* Second, the newer subsection, §

1681t (b) (1) ,? provides furnishers of credit with absolute

 

1 Section 168lh(e) provides in full:
(e) Limitation of liability

Except as provided in sections 1681in and 16810, no consumer may
bring any action or proceeding in the nature of defamation, invasion of
privacy, or negligence with respect to the reporting of information
against any consumer reporting agency, any user of information, or any
person who furnishes information to a consumer reporting agency, based
on information disclosed pursuant to section 1681g, 1681h, or 1681m, or
based on information disclosed by a user of a consumer report to or for
a consumer against who the user has taken adverse action, based in whole
or in part on the report except as to false information furnished with
Malice or willful intent to injure such consumer.

15 U.S.C. § 1681h(e).

2-15 § 1681t provides in relevant part:

(a) In general

Except as provided in subsections (b) and (c) of this section,
this subchapter does not annul, alter, affect, or exempt any person
subject to the provisions of this subchapter from complying with the
laws of any State with respect to the collection, distribution, or use
of any information on consumers, except to the extent those laws are
inconsistent with any provision of this subchapter, and then only to the
extent of the inconsistentcy.

(b) General Exceptions
(continued...)
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immunity from state law claims when fulfilling their reporting

obligations under § 1681s-2.' Section 1681t (b) (1) (F) was added

to the FCRA by Congress in a 1996 amendment.* This newer

language provides limits on state law liability that are both

 

No requirement or prohibition may be imposed under the law of any

(1) with respect to any subject matter regulated here under

kk *&

(F) section 1681s-2 of this title, relating to the
responsibilities of persons who furnish information to

 

consumer reporting agencies, except that this paragraph

 

shall not apply [to two statutory provisions of California
and Massachusetts].

7(., continued)
State -
15 U.S.C.

§ 1681t (emphasis added).

> PFCU’s duties in the context of plaintiff’s claims arise
under 15 § 1681s-2:

(b) Duties of furnishers of information upon notice of dispute

(1) In general

After receiving notice [from a consumer reporting agency] of

a dispute with regard to the completeness or accuracy of any
information provided by a person to a consumer reporting agency,

the person shall -

15 U.S.C.

(A) conduct an investigation with respect to the
disputed information;
(B) review all relevant information provided by the

consumer reporting agency pursuant to section
1681i(a) (2) of this title;

(Cc) report the results of the investigation to the
consumer reporting agency; and

(D) if the investigation finds that the information
is incomplete or inaccurate, report those results

to all other consumer reporting agencies to which

the person furnished the information and that

compile and maintain files on consumers on a
nationwide basis.

§ 1681s-2.

* That amendment made no mention whatsoever of the earlier §
1681lh(e) language.
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broader and more narrow than the older § 1681h(e) language.

The newer § 1681t(b) (1) (F) is broader than the older §
168lh(e) in that it preempts all state law claims that may arise
from a person's furnishing of credit information to a consumer
reporting agency, whereas 168lh(e) only preempts state law claims
“in the nature of defamation, invasion of privacy, or negligence”
to the extent that such claims do not result from willful or
malicious conduct. But the newer § 1681t(b) (1) (F) is also more
narrow than the older § 1681lh(e) in that the protections of the
newer § 1681t(b) (1) (F) are not triggered until after a furnisher
is notified by a consumer reporting agency of a consumer’s
dispute, whereas the older § 1681ih(e) protections are available

at all times. ee infra at n. 1-3. In other words, the

 

protection of § 1681t(b) (1) (F) is limited by § 1681s-2(b) (1)
which sets forth the duties of a furnisher of credit information.
This cumbersome overlap of the newer § 1681t(b) (1) (F) and the
older § 168lh(e) has resulted in disagreement among courts about
how best to harmonize the two in application. Riley v. Gen.
Motors Acceptance Corp., 226 F.Supp. 2d 1316, 1324 (S.D. Ala.
2002) (discussing the various approaches to analyzing the two
provisions).

The courts that have wrestled with the issue at bar have
reached differing results. Some have concluded, as defendant

urges this court to conclude, that there is complete preemption
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of state law claims. In other words, these courts hold that the
newer language (§ 1681t (b) (1) (F)) supercedes the older (§
1681lh(e)) altogether, and thus all state law causes of action
relating to the duties of persons who furnish information to
consumer credit reporting agencies are preempted by the newer §

1681t(b) (1) (F). See, e.g., Purcell v. Universal Bank, N.A., 2003

 

WL 1962376, *5 (E.D. Pa. April 28, 2003); Hasvold v. First USA
Bank, N.A., 194 F.Supp. 2d 1228, 1239 (D. Wyo. 2002); Jaramillo
v. Experian Info. Solutions, Inc., 155 F.Supp. 2d 356, 361-62
(E.D. Pa. 2001); Carney v. Experian Info. Solutions, Inc., 57
F.Supp. 2d 496, 503 (W.D. Tenn. 1999). According to these
courts, no state law tort claims relating to the furnishing of
information to a consumer reporting agency are ever permissible,
regardless of whether the claims involve conduct before or after
the furnisher of information received notice of a dispute from a
consumer reporting agency.

Other courts have held that the newer § 1681t (b) (1) (F)
preemption provision is more limited in scope. Relying on the

plain language of the statute,°® these courts hold that state law

 

5 Specifically, these courts can look to the provision of
the statute stating that private enforceable duties of furnishers
do not arise until “f[alfter [the furnisher] receives notice [from
a_ consumer reporting agency] of a dispute with regard to the
completeness or accuracy of any information provided by a person
to a consumer reporting agency.” 15 U.S.C. § 1681s-2(b) (1)
(emphasis added); see also 15 U.S.C. § 1681li(a) (2) (identifying
consumer reporting agencies as the only party from whom the

(continued...)
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tort claims are preempted by the newer § 1681t(b) (1) (F) only if
they involve conduct by the furnisher of credit information after
that furnisher was made aware that the information was false or

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disputed by a consumer reporting agency. See, e.g., Stafford v.

Cross Country Bank, 262 F.Supp. 2d 776 (W.D. Ky. 2003); Alkagi v.

NationsCredit Fin. Serv. Corp., 196 F.Supp. 2d 1186, 1194-95 (D.

Ks. 2002); see also Riley, 226 F.Supp. 2d at 1324.

This court notes with particular interest that among
appellate courts only the Fifth Circuit has spoken, albeit
indirectly, to the question of the relationship of state law
claims to the protections provided providers of credit
information under the FCRA. See Young v. Equifax Credit Info.
Serv., Inc., 294 F.3d 631, 638-640 (5th Cir. 2002) (giving effect
to the qualified protections of the older § 1681lh(e) while
recognizing the notice required to trigger the duties of § 1681s-
2(b)).

The courts that have found complete preemption of state law

 

°(,..continued)
furnisher must receive notice of the dispute.)

° The complexity of the statute is magnified by a number of
moving parts. Specifically, § 1681t(b) (1) (F) refers to the
duties imposed by § 1681s-2(b) which in turn are triggered by
events described in § 16811(2). Translated into english, that
Means that under the newer provision all state law claims are
preempted (see § 1681t(b) (1) (F)) when they involve conduct
related to the reporting of information to a consumer reporting
agency (see § 1681s-2(b)) only after the person has been notified
of a dispute by a consumer reporting agency (see § 16811(2)).

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claims have done so by concluding that the 1996 amendment to the
FCRA superceded the liability limitation provisions that already
existed in the statute at § 168lh(e). See, e.g., Jaramillo, 155
F.Supp. 2d at 361-62. However, nothing in the 1996 amendment
compels such a conclusion. And to imply Congress’s intent to
repeal a previously existing provision in the statute without a
clear statement in the amendment to that effect’ is an unwieldy
act of legislation that this court ought not and will not
undertake. See TRW Inc. v. Andrews, 534 U.S. 19, 31 (2001) .8

For this court to adopt the defendant’s position that
passage of the 1996 amendment to the FCRA implicitly superceded
(without explicitly repealing) § 1681h(e) it would have to do
precisely what the United States Supreme Court has instructed not
be done: to cause § 1681h(e) to become nothing more than
superfluous to the statute. A reading of the plain language of
the statute demonstrates that the two provisions can (and perhaps
were intended to) coexist.

As noted above, both § 1681t(b) (1) (F) and § 1681h(e) limit

liability arising out of the reporting of credit information. 15

 

7 This is especially true where, as here, such a statement
could have been so easily made.

§ The Supreme Court stated in TRW that “[i]t is a cardinal
principle of statutory construction that a statute ought, upon
the whole, to be so construed that, if it can be prevented, no
clause, sentence, or word shall be superfluous, void, or
insignificant.” 534 U.S. at 31 quoting Duncan v. Walker, 533 U.S.
167, 174 (2001) (internal quotation marks omitted).

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U.S.C. §§ 1681h(e), 1681t(b) (1) (F); see also 15 U.S.C. § 1681s-2.
But, the absolute bar of the newer § 1681t(b) (1) (F) applies only
after a consumer reporting agency notifies the furnisher of
credit information of a consumer dispute. See 15 U.S.C. § 1681s-
2(b) (1); see also 15 U.S.C. § 1681li(a) (2). The more limited
liability restrictions of the older § 1681lh(e) apply both before
and after a consumer reporting agency notifies a furnisher of
information about a consumer dispute. 15 U.S.C. § 1681h(e).

A practical example may shed some light on the mechanics of
the court's interpretation of the statute. In this example, Visa
will serve as the furnisher of information and Equifax will serve
as the consumer reporting agency. Chris will be our consumer.
Chris is surprised to receive in the mail a delinquency notice
from Visa stating that she has a Visa credit card account with an
overdue balance of $1,000.00. Chris contacts Visa. She notifies
Visa that she never authorized the account nor the charges on it.
And Equifax has not notified Visa of any dispute. At this point,
under this court’s interpretation of the statutory scheme, Visa
has not yet come under the preemption protections of the newer §
1681t (b) (1) (F). Chris’s possible claims (of defamation, invasion
of privacy, or negligence with respect to the reporting of
information) against Visa are barred unless Chris can show that
Visa wilfully or maliciously furnished Equifax with false

information regarding the account in Chris’s name. Blissfully

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unaware of her potential legal claims, Chris next calls Equifax
and obtains a credit report reflecting the $1000.00 overdue
balance on the Visa credit card issued in her name. Chris calls
Equifax back and disputes the $1000.00 overdue Visa balance.
Equifax then notifies Visa of Chris’s dispute. Under the
Statute, at this point, and only at this point, are the absolute
preemption of state law claim protections of the newer §
1681t(b) (1) (F) triggered.

The court finds wholly unpersuasive those decisions which
hold the newer § 1681t(b) (1) (F) to implicitly supercede the older
§ 168lh(e) and to completely preempt all state law claims
regarding the responsibilities of individuals furnishing credit
information to consumer reporting agencies. See Branch v. Smith,
538 U.S. 254, 273 (2003) (holding that where it is possible for
the court to do so, it must give equal effect to what, at first
blush, appear to be conflicting provisions of a given statute).
Accordingly, since it is possible for the court to do so, both §
168ih(e) and § 1681t(b) (1) (F) must be given equal effect. In
order to give both subsections effect, the court must determine
if and, more importantly, when the complete preemption of state
law claims under the newer § 1681t(b)(1)(F) is alleged in the
complaint to have been triggered. See, e.g., Riley 226 F.Supp.
2d at 1325.

Looking to the pleadings, the court is unable to determine

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which (or if any) level of FCRA immunity applies to defendant's
conduct alleged in each of the challenged state law claims. The
essential facts necessary for the court to make such a
determination are not present in the record. Stated more
precisely, given the pleadings, it is not beyond doubt that the
plaintiff could prove facts supporting all of her asserted claims
for relief.®

For the foregoing reasons, defendant’s motion viewed as a
motion to dismiss and viewed as a motion for judgment on the
pleadings is DENIED. But should defendant be able to produce
uncontroverted evidence that it is protected by the absolute
immunity of the newer § 1681t(b) (1) (F) as outlined by the court
in this memorandum, then defendant should move forward with a
motion for summary judgment.

Additionally, defendant is DIRECTED to file an answer to

plaintiff’s amended complaint by April 2, 2004.

VY. Marerel

SENIOR UNITED STATES DISTRICT JUDGE

n
DONE this _/@ Gay of March, 2004.

 

 

 

 

 

? In dismissing all of the plaintiff’s state law claims, the
court in Riley was careful to point out that because “([t]he
instant case only alleges conduct by [defendants] after they
received notice from the credit reporting agencies of a
discrepancy . . . there is no need for a § 1681h(e) analysis.”
226 F.Supp. 2d at 1325. (emphasis in original) (internal citations
omitted) .

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